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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
  Danesh Noshirvan


  v.                                                                 2:23-cv-01218
  Jennifer Couture, et al



        MOTION TO QUASH SUBPOENA AND FOR SANCTIONS AND FOR ASSIGNMENT OF
       COUNSEL TO REPRESENT MOVANT TO PROTECT HIS RIGHT TO ANONYMOUS SPEECH
  COMES NOW Movant, proceeding pro se as John Doe/Jane Roe, and respectfully moves
  this Honorable Court to quash the subpoena apparently 1 issued to Google LLC by Plaintiff
  Danesh Noshirvan, through his counsel, in the above-captioned case, pursuant to Federal
  Rule of Civil Procedure 45(d)(3), and to impose sanctions under Rule 45(d)(1) to prevent
  further abuse of the subpoena process by Plaintiff. Movant is a non-party whose identity is
  unknown to the parties and whose records are sought in connection with an alleged
  matter unrelated to Movant. In support of this Motion, Movant states as follows:
  GROUNDS FOR MOTION TO QUASH
        1. Non-Party Status and Lack of Relevance: Movant is not a party to this action and
           has no direct involvement in the dispute between Plaintiff and Defendant. The
           subpoena presumably seeks records not reasonably calculated to lead to the
           discovery of admissible evidence relevant to the claims or defenses in this case, as
           required by Federal Rule of Civil Procedure 26(b)(1).
        2. Undue Burden and Privacy Violation: The subpoena imposes an undue burden on
           Movant by seeking private and sensitive records (e.g., email communications,
           account data, and personally identifiable information) that could enable Plaintiff to
           further a campaign of harassment against individuals who oppose his conduct
           online. Plaintiff has not demonstrated necessity or particularized relevance, violating
           Movant’s privacy rights under the First and Fourth Amendments.
        3. Failure to Identify Movant: The subpoena does not identify Movant by name, instead
           relying on broad or speculative criteria to obtain records. This overbreadth renders
           it defective under Rule 45(a)(1)(A)(iii), which requires reasonable specificity in
           describing the items sought.


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      Movant has not seen the Subponea, has not directly been served in any manner.
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     4. First Amendment Protection: To the extent the subpoena targets Movant’s online
        speech, it infringes on Movant’s First Amendment right to anonymous expression.
        Unmasking anonymous speakers requires a heightened showing of need, which
        Plaintiff has not met. See Dendrite Int’l, Inc. v. Doe, 775 A.2d 756 (N.J. App. Div.
        2001).
  MEMORANDUM OF LAW
  The Court must quash a subpoena under Rule 45(d)(3)(A) if it: (i) fails to allow reasonable
  time to comply; (ii) requires disclosure of privileged or protected matter; (iii) subjects a
  person to undue burden; or (iv) exceeds geographic limits. This subpoena fails on multiple
  grounds:
        It subjects Movant, a non-party, to undue burden by seeking private records
         without justification (Rule 45(d)(3)(A)(iv)). Specifically, it risks exposing Movant to
         doxing and harassment by Plaintiff and his counsel.
        It threatens disclosure of protected anonymous speech without a compelling need
         (Rule 45(d)(3)(A)(ii)). The domain and email use in question are not unique to
         Movant but are widely shared across forums and blogs by individuals criticizing
         Plaintiff’s conduct, rendering Movant’s identity irrelevant.
        Its overbreadth and lack of specificity violate procedural requirements (Rule
         45(a)(1)(A)(iii)). If Plaintiff seeks to connect Movant to a specific party or non-party,
         the proper procedure is through that party. Plaintiff’s failure to name an essential
         non-party as a defendant further undermines the subpoena’s legitimacy.
  GROUNDS FOR SANCTIONS
     5. Abuse of Subpoena Process: Plaintiff’s issuance of this overbroad and unjustified
        subpoena—consistent with a pattern of similar actions—demonstrates a failure to
        take reasonable steps to avoid undue burden or expense on Movant, a non-party, in
        violation of Rule 45(d)(1). Plaintiff has not shown a good-faith basis for seeking
        Movant’s records, suggesting harassment or a fishing expedition unrelated to the
        case’s merits. The subpoena’s presumed unlimited scope, if consistent with
        Plaintiff’s prior attempts, seeks records beyond the relevant time period of the
        dispute, further evidencing bad faith.
     6. Deterrence: Sanctions are warranted to prevent Plaintiff’s repeated misuse of the
        subpoena process, which chills protected speech and burdens non-parties without
        cause. This is not Plaintiff’s first attempt to improperly fish for details from
        protected non-parties, hoping they lack the means or capability to challenge such
        actions disguised as judicial discovery.
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     7. Discovery in this matter has ended: Plaintiff has had this matter pending for a long
        time and is only now seeking the information in the subpoena. His motive of using
        delay tactics is harassment.
  GROUNDS FOR APPOINTMENT OF COUNSEL
        Protection of First Amendment Rights: This dispute involves Movant’s fundamental
         right to anonymous speech under the First Amendment, a complex constitutional
         issue requiring legal expertise to defend against Plaintiff’s attempt to unmask
         Movant via an overbroad subpoena.
        Complexity of Legal Issues: The motion raises intricate procedural and substantive
         questions under Federal Rule of Civil Procedure 45, First and Fourth Amendment
         jurisprudence, and case law on anonymous speech (e.g., Dendrite Int’l, Inc. v. Doe),
         which Movant, as a pro se non-party, lacks the training to navigate effectively.
        Disparity in Representation: Plaintiff is represented by counsel, creating an
         imbalance of legal skill and resources that disadvantages Movant, particularly given
         Plaintiff’s pattern of aggressive and allegedly abusive subpoena tactics.
        Risk of Harassment and Doxing: The subpoena threatens Movant with doxing and
         harassment by Plaintiff, heightening the stakes and necessitating counsel to
         safeguard Movant’s anonymity and personal safety throughout this dispute and any
         appeals.
        Non-Party Status: As a non-party, Movant has no direct stake in the underlying case
         yet faces significant burdens, making legal representation critical to avoid unfair
         prejudice from Plaintiff’s actions.
        Pattern of Abuse by Plaintiff: Plaintiff’s repeated issuance of overbroad subpoenas
         suggests ongoing misuse of the judicial process, requiring counsel to monitor and
         counter future attempts that could further infringe on Movant’s rights.
        Inability to Self-Represent Effectively: Movant lacks the legal knowledge and
         resources to draft motions, argue in court, or handle appeals pro se, especially
         against a represented party with a history of exploiting such vulnerabilities.
        Public Interest in Anonymity: Assigning counsel serves the broader public interest
         by ensuring non-parties can challenge improper subpoenas without fear of
         exposure, preserving the integrity of anonymous online speech.
        Potential for Appeals: If this motion is denied, an appeal may be necessary to
         protect Movant’s rights, and appellate proceedings demand a level of legal
         sophistication beyond Movant’s pro se capacity.
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  REQUEST FOR RELIEF
  WHEREFORE, Movant respectfully requests that this Court:
     1. Grant this Motion to Quash the subpoena(s) issued to Google LLC;
     2. Stay the current subpoena, seek details of any other potentially related or
        additional subpoenas by Plaintiff, and stay them as well;
     3. Protect Movant’s anonymity by allowing this Motion to proceed under the
        pseudonym John Doe/Jane Roe;
     4. Impose sanctions of $100,000.00 on Plaintiff under Rule 45(d)(1), including
        Movant’s costs incurred in preparing and filing this Motion, and any further relief to
        deter continued abuse of the subpoena process;
     5. Appoint counsel to represent Movant anonymously in this dispute moving forward,
        including any appeals, due to the complexity of the legal issues involved, the
        significant First Amendment rights at stake, and Movant’s inability to adequately
        protect these interests pro se against Plaintiff’s ongoing misuse of the judicial
        process;

     6. Grant such other and further relief as the Court deems just and proper.
  DATED this 4th day of April, 2025.
  Respectfully submitted,
  JOHN DOE / JANE ROE
  P.s. Movant will follow the public record of this case closely for further instructions but has
  no intentions of communicating with any party, or the Court, directly or indirectly, to
  protect Movant’s identity and anonymity. Should the court wish to inform Movant of a
  procedure or matter, the court can do so through the public record.
